Case 2:06-cr-20185-VAR-VMM ECF No. 407, PageID.3363 Filed 11/13/09 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff(s),                CASE NUMBER: 06-20185
                                                 HONORABLE VICTORIA A. ROBERTS
v.

ALVINO DEWIGHT CORNELIUS,

                    Defendant(s).
                                                      /

                      ORDER DENYING DEFENDANT’S
             MOTION FOR SEVERANCE FROM ALL CO-DEFENDANTS

      On April 6, 2006, Roy West, Marcus Freeman, Michael Bracey, Alvino Cornelius,

and Alseddrick West were indicted for Conspiracy to Use Interstate Commerce Facilities

in the Commission of Murder-for-Hire, in violation of 18 U.S.C. §1958. The Indictment

alleges: (1) Defendants conspired to travel from Ohio to Michigan with the intent that

Leonard Day be killed; (2) Cornelius expressed an intent to kill Day; (3) guns were

seized on November 12, 2005 from the Pontchartrain Hotel where Roy and Alseddrick

stayed; and (4) Day was killed on December 20, 2005.

      Before the Court is Cornelius’ “Motion for Severance from All Co-Defendants.”

(Doc. #366). Cornelius asks the Court to sever his trial from all co-Defendants because

he was not at the Pontchartrain Hotel when the guns were seized, evidence that guns

were seized is irrelevant and unduly prejudicial, and admission of such evidence would

violate his Fifth Amendment rights.

      Fed. R. Crim. P. 14(a) says “If the joinder of . . . defendants in an indictment . . .



                                             1
Case 2:06-cr-20185-VAR-VMM ECF No. 407, PageID.3364 Filed 11/13/09 Page 2 of 2




appears to prejudice a defendant . . ., the court may . . . sever the defendants’ trials[.]”

Cornelius has the burden to show a “specific and compelling prejudice” arising from the

joint trial. See United States v. Harris, 9 F.3d 493, 500 (6th Cir. 1993).

       While Cornelius was not at the Pontchartrain Hotel when the guns were seized,

his co-Defendants’ action of bringing guns to the hotel was meant to further the alleged

conspiracy to kill Day, and would be admissible against Cornelius in a separate trial.

See United States v. Reyes, 2002 WL 31269661 at **3 (6th Cir. Oct. 9, 2002) (a co-

defendant’s overt act in furtherance of the charged crime is admissible against the

defendant in a separate trial).

       Because evidence that his co-Defendants brought guns to the Pontchartrain

Hotel and the guns were seized would be admissible in a separate trial, Cornelius

cannot show he would be prejudiced by a joint trial in which the Government admits

such evidence.

       Cornelius’ motion is DENIED.

       IT IS ORDERED.


                                                 S/Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: November 13, 2009

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 November 13, 2009.

 s/Carol A. Pinegar
 Deputy Clerk



                                                   2
